Case 2:05-Cr-20273-BBD Document 20 Filed 08/30/05 Page 1 of 3 Page|D 23

 

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) C!£RK, Ur.§. P#STHQT C{XHI
UNITED sTATEs oF AMERICA ) W'@ “"' "` ""E§`MS
Plaintiff, )
)
vs. ) CR. No. 05-20273-D
)
GENE LEACH )
Defendant. )
)

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came on to be heard on August 25, 2005, the United
States Attorney for this district, E. Greg Gilluly, Jr., appearing for
the Government and the defendant, Gene Leach, appearing in person and
with counsel, Mary Catherine Jermann, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts l, 2 and 3 of
the Indictment.

Remaining Counts shall be dismissed at the Sentencing Hearing.
Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this ease is SET for MONDAY, NOVEMBER 21, 2005, at
1200 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

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ENTERED this the,gj_ day of August, 2005.

 

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with Rule 55 and/or 32(b) FRCrP on `

 

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This notice confirms a copy cf the document docketed as number 20 in
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Honcrable Bernice Donald
US DISTRICT COURT

